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4                              UNITED STATES DISTRICT COURT

5                           EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                  No. 2:15-cr-125-GEB
8                      Plaintiff,
9          v.                                   ORDER GRANTING DEFENDANT’S
                                                PROPOSED CHANGE TO VOIR DIRE
10   BENJAMIN MACIAS,
11                     Defendant.
12

13                Defendant filed a memorandum proposing a change to the

14   Court’s    voir    dire    order.    Def.’s       Mem.   at   1-2,    ECF     No.   191.

15   Defendant requests:

16                Regarding the “Voir Dire” section at numbered
                  page 2: 6, it is requested the Court change
17                the current language of “...being a felon in
                  possession of a firearm,” to the same
18                language requested by the government in their
                  “Statement of the Case,” Docket No. 187,
19                filed 11-1-18 at lines 23 – 24, as follows:
                  “... possessing a firearm after having been
20                convicted of a crime punishable by a term of
                  imprisonment exceeding one year.”
21

22   Id.

23                The language Defendant seeks to change is not on page

24   2; rather the language is on page 3 at line 6 of the proposed

25   voir dire, in ECF No. 190.               What Defendant seeks to strike are

26   the words “being a felon in possession,” and to have the stricken

27   words replaced with what follows: “possessing a firearm after

28   having     been    convicted    of   a    crime    punishable        by   a   term   of
                                                1
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1    imprisonment exceeding one year.”        This request is granted.

2                Dated:   November 5, 2018

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